                      IN THE UNITED STATES DISTRICT COURT
                  FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                              CHARLOTTE DIVISION

UNITED STATES OF AMERICA                    )
                                            )
v.                                          )       CASE NO. DNCW 3:97CR294 02 MU
                                            )       (Financial Litigation Unit)
STEVEN EUGENE CHAMBERS,                     )
                                            )
and                                         )
                                            )
UNIVERSAL HEALTH                            )
& FITNESS, LLC,                             )
Garnishee.                                  )

                         ORDER OF CONTINUING GARNISHMENT

        THIS MATTER is before the Court on the Answer of Universal Health & Fitness, LLC, as

Garnishee. On April 29, 1999, the Honorable Graham C. Mullen sentenced the Defendant to 135

months imprisonment for his convictions of Bank Larceny and Aiding and Abetting, in violation

of 18 U.S.C. § 2113(b) and 2, Accessory After the Fact of Bank Larceny, in violation of 18 U.S.C.

§ 3, Money Laundering and Aiding and Abetting, in violation of 18 U.S.C. § 1956(a)(1(B)(1) and

(2), and Conspiracy to Commit Murder for Hire, in violation of 18 U.S.C. § 1958. Judgment in the

criminal case was filed on May 4, 1999 (Docket No. 320). As part of that Judgment, the Defendant

was ordered to pay an assessment of $1,600 and restitution of $3,813,706.00 to the victims of the

crimes. Id.

        On August 15, 2011, the Court entered a Writ of Continuing Garnishment ("Writ") (Docket

No. 548) to Garnishee, Universal Health & Fitness, LLC ("Garnishee"). The United States is

entitled to a wage garnishment of up to 25% of net income and has satisfied the prerequisites set

forth in 15 U.S.C. § 1673. Garnishee was served with the Writ of Garnishment on August 17, 2011.

Defendant was served with the Writ of Garnishment on August 20, 2011. Garnishee filed an invalid




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Answer on August 29, 2011 (Docket No.551). Garnishee filed a valid Answer on September 12,

2011 (Docket No. 552) stating that at the time of the service of the Writ, Garnishee had in their

custody, control or possession property or funds owned by the Defendant, including non-exempt

disposable earnings.

       IT IS THEREFORE ORDERED that an Order of Continuing Garnishment is hereby

ENTERED in the amount of $3,535,641.10 computed through August 15, 2011. Garnishee shall

pay the United States 25% of Defendant's net earnings which remain after all deductions required

by law have been withheld, and 100% of all 1099 payments, and Garnishee shall continue said

payments until the debt to the United States is paid in full, or until Garnishee no longer has custody,

possession or control of any property belonging to Defendant, or until further order of this Court.

       Payments should be made payable to the United States Clerk of Court and mailed to the

Clerk of the United States District Court, 401 West Trade Street, Charlotte, NC 28202. In order to

ensure that each payment is credited properly, the following should be included on each check:

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       The United States will submit this debt to the Treasury for inclusion in the Treasury Offset

Program. Under this program, any federal payment the Defendant would normally receive may be

offset and applied to this debt.

       SO ORDERED.                                Signed: October 6, 2011




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